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                                             #:451




Melvin Huges
1014 S Westlake Blvd 14-318
Westlake Village CA. 91361                                      CLERK, U.S. OiSTRiCT
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remedyacademy@protonmail.com
323 787 3854                                                          AUG 2 62024
                                                              CENTFZAL p T E
8/20/2024                                                                    T OF CALIFORNIA
                                                              -
                                                              BY~..                  DEPUTY

 U NITED STATE DISTRICT COURT.
350 WEST 1st. STREET
 LOS ANGELES CA.90012
 Regarding Case Numbers:
[2:21-cv-04569-JAK-KS] &[ 2:21-cv-08339 - JAK-KS]

Subject: Submission of Form W-9

Dear Sir/Madam,
 am writing to you as Melvin Huges,the Trustee,to submit the completed Form W-9 on
behalf of the Payee, in accordance with the requirements for tax identification purposes.
This submission pertains to our financial dealings within the state of California.

Please find the completed Form W-9 enclosed with this letter. The information provided
on the form is accurate and up-to-date, reflecting the current tax identification details of
the Payee. We kindly request that you process this form at your earliest convenience tc
ensure compliance with IRS regulations.

Should you require any further information or clarification, please do not hesitate to
contact me directly at the phone number or email address provided above. I am
available to assist with any inquiries you may have regarding this submission.
Thank you for your attention to this matter.

Sincerely,

~~~v---      -----~'----------------    Date:            U - `~
Mclvin uges
Trustee/Grantor/Beneficiary
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 Form                                                      Request for Taxpayer                                                                       Give form to the
(Rev. March 2024)                                Identification Number and Certification                                                              requester. Do not
 Department of the Treasury                                                                                                                           send to the IRS.
 Internal Revenue Service                    Go to www.irs.gov/FormW9 for instructions and the latest information.
 Before you begin. For guidance related to the purpose of Form W-9, see Purpose of Form, below.
         1   Name of entity/individual. An entry is required.(For a sole proprietor or disregarded entity, enter the owner's name on line 1, and enter the business disregarded
             entity's name on line 2.)

         MELVIN HUGES L.(GRANTOR DEEMED OWNER)
         2 Business name/disregarded entity name, if different from above.
         BANDELE TRUST (A GRANTOR TRUST)
   ~     3a Check the appropriate box for federal tax classification of the entity/individual whose name is entered on line 1. Check     4 Exemptions(codes apply only to
    ro
    a
            only one of the following seven boxes.                                                                                         certain entities, not individuals;
                                                                                                                                           see instructions on page 3):
    ~        ~ Individual/sole proprietor       ❑ C corporation        ❑ S corporation        ❑ Partnership        ❑Trust/estate
    0
 ~ ~         ❑ LLC. Enter the tax classification (C = C corporation, S = S corporation, P = Partnership)                                 Exempt payee code (if any)
 a~            Note: Check the "LLC" box above and, in the entry space, enter the appropriate code (C, S, or P)for the tax
 ~v            classification of the LLC, unless i[ is a disregarded entity. A disregarded entfty should instead check the appropriate   Exemption from Foreign Account Tax
 Ò ,~         box for the tax classification of its owner.                                                                              Compliance Act(FATCA) reporting
             ❑ Uther (see instructions)                                                                                                  code (if any)
 a ~
   1C    3b If on line 3a you checked "Partnership" or "TrusUestate," or checked "LLC" and entered "P" as its tax classification,
    v
    d       and you are providing this form to a partnership, trust, or estate in which you have an ownership interest, check              (Applies to accounts mainfained
                                                                                                                                              outside the United States.
   y        this box if you have any foreign partners, owners, or beneficiaries. See instructions                                 ❑                                    ~
         5 Address(number, street, and apt. or suite no.). See instructions.                                         Requester's name and address (optional)
         1014 S Westlake Blvd 14 318
         6 City, state, and ZIP code
         Westlake Village CA. 91361
                                                                                                                                                                                  0
         7 List account numbers) here (optional)
         CASE NO. 2;21-cv-04569-JAK & 2:21-cv-08339-JAK-KS
              Taxpayer Identification Number (TIN)
Enter your TIN in the appropriate box. The TIN provided must match the name given on line 1 to avoid                        ~ Social security number
backup withholding. For individuals, this is generally your social security number (SSN). However, fora
resident alien, sole proprietor, or disregarded entity, see the instructions for Part I, later. For other                     4 3 3 - 2 9 - 5 8 7 7
entities, it is your employer identification number (EIN). If you do not have a number, see How to get a
TIN, later.                                                                                                                 or
                                                                                                                              Employer identification number
Note: If the account is in more than one name, see the instructions for line 1. See also What Name and
Number To Give the Requester for guidelines on whose number to enter.

                          cation
Under penalties of perjury, I certify that:
1. The number shown on this form is my correct taxpayer identification number(or I am waiting for a number to be issued to me); and
2. I am not subject to backup withholding because (a) I am exempt from backup withholding, or(b) I have not been notified by the Internal Revenue
   Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or(c) the IRS has notified me that I am
   no longer subject to backup withholding; and
3. I am a U.S. citizen or other U.S. person (defined below); and
4. The FATCA codes)entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.
Certfication instructions. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup wkhholding
because you have failed to report all interest and dividends on your tax return. For real estate transactions, item 2 does not apply. For mortgage interest paid,
acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement arrangement (IRA), and, generally, ~.~~. •*gents
other than interest and dividends, you are not required to sign the certification, but you must provide your correct TIN. See the instructions for Part II, later.
Sign         Signature of j~~ ~~- )                                                                                      Q ~,jZ ~ ~~ ~
Here         U.S. person ~1      ~                                                                                Baca    f-S/
General Instructions                                                                          New line 3b has been added to this form. Aflow-through entity is
                                                                                           required to complete this line to indicate that it has direct or indirect
Section references are to the Internal Revenue Code unless otherwise                       foreign partners, owners, or beneficiaries when it provides the Form W-9
noted.                                                                                     to another flow-through entity in which it has an ownership interest. This
Future developments. For the latest information about developments                         change is intended to provide a llow-through entity with information
related to Form W-9 and its instructions, such as legislation enacted                      regarding the status of its indirect foreign partners, owners, or
after they were published, go to www.irs.gov/FormW9.                                       beneficiaries, so that it can satisfy any applicable reporting
                                                                                           requirements. For example, a partnership that has any indirect foreign
What's New                                                                                 partners may be required to complete Schedules K-2 and K-3. See the
                                                                                           Partnership Instructions for Schedules K-2 and K-3(Form 1065).
Line 3a has been modified to clarify how a disregarded entity completes
this line. An LLC that is a disregarded entity should check the                            Purpose of Form
appropriate box for the tax classification of its owner. Otherwise, it
should check the "LLC" box and enter its appropriate tax classification.                   An individual or entity (Form W-9 requester) who is required to file an
                                                                                           information return with the IRS is giving you this form because they

                                                                 Cat. No. 10231 X                                                                   Form W-9(Rev. 3-2024)
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